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               COMPOSITE
                  EXHIBIT 1
            (File Under Seal)
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                                                                  Haddon, Morgan and Foreman, P.C
                                                                               Laura A. Menninger
HADDON
MORGAN
                                                                               150 East 10th Avenue
FOREMAN
                                                                           Denver, Colorado 80203
                                                                    PH 303.831.7364 FX 303.832.2628
                                                                          lmenninger@hmflaw.com




          August 16, 2016

          VIA EMAIL

          Sigrid S. McCawley
          Boies, Schiller & Flexner LLP
          401 East Las Olas Blvd., Suite 1200
          Fort Lauderdale, FL 33301
          smccawley@bsfllp.com

          Re:    Giuffre v. Maxwell, Case No. 15-cv-07433-RWS

          Dear Sigrid:

                  Attached please find documents produced pursuant to a subpoena duces tecum
          issued to Mar-a-Lago Club, Inc., on July 14, 2016 which have been Bates numbered
          Mar-A-Lago 0075-0595.

                  Also attached are two documents Bates numbered GM_01141-01144. These
          emails were collected as responsive to Plaintiff’s First Request for Production of
          Documents in February 2016 but through clerical error were not produced at that time
          or following the Court’s in camera review in April. A recent review of documents
          revealed the error.



                                                     Sincerely,

                                                     HADDON, MORGAN AND FOREMAN, P.C.


                                                     /s/ Laura A. Menninger
                                                     Laura A. Menninger
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________________________________
From: Ross Gow
Sent: 10 November 2015 18:16
To: Gmax; Philip Barden
Subject: Fwd: Inquiry from The New York Times

Hi Ghislaine and Philip
Please advise how you wish to respond...
Best
Ross

---------- Forwarded message ----------
From: Meier, Barry
Date: Tuesday, 10 November 2015
Subject: Inquiry from The New York Times
To:



Mr. Gow,
Good day. I am a reporter for the Times and it is my understanding that you represent Ghislaine Maxwell.
I am working on an article about the legal fallout from the Jeffrey Epstein case.
I anticipate mentioning the lawsuit filed earlier this year by Virginia Roberts Guiffee against Ms. Maxwell.
How does she respond?
Kindly advise by close of business Thursday, November 12, 2015.
And call me if you have any questions.
Regards,
Barry Meier

--
The New York Times
620 Eighth Avenue
New York, NY 10018




                                                        1
                                                                        CONFIDENTIAL GM_01141
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Ross Gow
Managing Partner
ACUITY Reputation
23 Berkeley Square
London W1J 6HE




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www.acuityreputation.com<http://www.acuityreputation.com/>

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may be obtained by contacting the Senior Clerk of that Chambers, whose contact details can be found online, or from us. Complaints may be made direct to the barrister /
their Chambers. Please note that there may be a time limit for bringing your complaint. You may also have the right to ask the Legal Ombudsman to consider your complaint
at the end of the complaints process. Information on complaints to the Legal Ombudsman, including the details of strict time limits to bring a complaint, may be found at
http://www.legalombudsman.org.uk.

The Devonshires Foundation is proud to support Action for Kids (reg. charity 1068841), Wide horizons (reg. charity 1105847), and Theatre Royal Stratford East (reg. charity
233801) during 2014/2015.

Please consider the environment before printing this email.




                                                                                        2
                                                                                                                  CONFIDENTIAL GM_01142
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From:                          jeffrey E. <jeevacation@gmail.com>
Sent:                          Wednesday, April 22, 2015 3:58 PM
To:                            'Ghislaine'
Subject:                       Re: ATTORNEY-CLIENT PRIVILEGE


ok

On Wed, Apr 22, 2015 at 5:46 PM, Ghislaine <Ghislaine@theterramarproject.org> wrote:
I would like Barden to reply to one further allegation in this bullshit

She says Epstein and Maxwell asked her
> to have a child for them and to sign a document signing away
> the rights to the child in the event that she and Epstein
> had a falling out. She says she refused this
> request.·

Regarding further detail of the interview which I have reviewed I would like to add one further point to
underscore the lack of probity in Ms Roberts claims

At no point in Ms Maxwell’s life has she ever contemplated thought or wanted to bring up someone’s child as
her own and or ask the mother to sign her rights away to the child. In fact the mere idea of such a suggestion
is abhorrent. Further, the idea that Ms Maxwell would contemplate an arrangement with someone who
abused drugs and alcohol contemporaneously and who was living with her fiancé beggars belief.
No document has ever been contemplated, created nor lawyer nor other approached to write such a
document at anytime




THE TERRAMAR PROJECT
FACEBOOK
TWITTER
G+
PINTEREST
INSTAGRAM
PLEDGE
THE DAILY CATCHthe

From: J Jep
Date: Wednesday, April 22, 2015 at 15:08 PM
To: Gmax
Subject: Fwd: ATTORNEY-CLIENT PRIVILEGE
                                                       1
                                                                       CONFIDENTIAL GM_01143
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She says Epstein and Maxwell asked her
> to have a child for them and to sign a document signing away
> the rights to the child in the event that she and Epstein
> had a falling out. She says she refused this
> request.·



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     please note
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constitute inside information, and is intended only for
the use of the addressee. It is the property of
JEE
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communication or any part thereof is strictly prohibited
and may be unlawful. If you have received this
communication in error, please notify us immediately by
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destroy this communication and all copies thereof,
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                                                                 CONFIDENTIAL GM_01144
